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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 ART AKIANE LLC,
           Plaintiff,

 v.                                                        Civil Action No.: 1:19-cv-02952

 ART & SOULWORKS LLC, and
 CAROL CORNELIUSON,
           Defendants.




      PLAINTIFF ART AKIANE LLC’S MOTION TO EXCEED PAGE LIMITATIONS

        Plaintiff Art Akiane LLC (“Art Akiane”) respectfully requests that it be given leave to file

its brief in support of Plaintiff’s Motion for Entry of a Temporary Restraining Order in excess of

15 pages. Plaintiff’s brief in support is 23 pages, or 8 pages in excess of the 15 page limitation.

        As part of the TRO, Plaintiff seeks: (1) a temporary injunction against Defendants

continued displaying, copying, distributing, promoting, offering, and selling Plaintiff’s

copyrighted art work; (2) a temporary injunction against Defendants continued using, selling,

transferring, assigning or licensing the AKIANE trademarks and likeness of Akiane Kramarik

without explicit authorization from Plaintiff; (3) a temporary injunction against Defendants for

other related violations of Plaintiff’s intellectual property rights; and (4) a temporary restraint of

Defendants’ assets to preserve Plaintiff’s right to an equitable accounting.

        Plaintiff’s Motion for TRO includes a number of distinct issues regarding Art Akiane’s

intellectual property rights (e.g., copyrights, trademarks, likeness of Akiane Kramarik, use of the

foregoing on website and social media, etc.). Art Akiane’s brief contains the necessary substantive

content relevant to each issue that should be considered. Art Akiane’s brief is twenty-three (23)

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pages, which is substantially less than the number of pages if multiple motions were filed

separately. Accordingly, Plaintiff respectfully requests that it be granted leave to file a combined

brief in excess of 15 pages for purposes of efficiency.


Dated: May 20, 2019                                  Respectfully submitted,


                                                     ART AKIANE LLC,


                                                     By: /s/ R. Eric Gaum
                                                     Adam Wolek
                                                     Marcus S. Harris
                                                     TAFT STETTINIUS & HOLLISTER LLP
                                                     111 E. Wacker Drive, 28th Floor
                                                     Chicago, Illinois 60601
                                                     Phone: (312) 836-4063
                                                     Fax: (312) 966-8598
                                                     awolek@taftlaw.com
                                                     mharris@taftlaw.com

                                                     R. Eric Gaum (pro hac vice)
                                                     TAFT STETTINIUS & HOLLISTER LLP
                                                     200 Public Square, Suite 3500
                                                     Cleveland, Ohio 44114-2302
                                                     Phone: (216) 241-2838
                                                     Fax: (216) 241-3707
                                                     egaum@taftlaw.com

                                                     Counsel for Plaintiff Art Akiane LLC




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 20, 2019, the foregoing was filed with the Clerk of Court via

CM/ECF, which provided notice of the same to all parties who have made an appearance in this

case. In addition, the following attorneys who have been identified as counsel for the Defendants

have provided email notice on May 20, 2019 of the foregoing as follows:

       Patrick Lamb, Esq.
       Patrick.lamb@elevatenextlaw.com
       Elevate Next
       218 N. Jefferson St., Suite 300
       Chicago, IL 60661

       And

       Mark E. Lassiter, Esq.
       mlassiter@lassiterlawfirm.com
       The Lassiter Law Firm
       60 E, Rio Salado Parkway, 9th Floor
       Tempe, AZ 85281


                                                     /s/ R. Eric Gaum




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